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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS
____________________________________
                                     )
MJA HOLDINGS LLC,                    )
                                     )  C.A. Docket No. 24-cv-10181
      Plaintiff,                     )
                                     )
v.                                   )
                                     )
BATTLE GREEN EQUIPMENT LLC,          )
                                     )
      Defendant.                     )
____________________________________)

                AFFIRMATION IN SUPPORT OF PRO HAC VICE ADMISSION

             RYAN C. ALTIERI, affirms the following under the pains and penalties of perjury:

        1.       I am an attorney duly admitted to practice law in the State of New York. I submit

this Affirmation in support of a motion seeking my admission to the bar of this Court pro hac

vice for the purpose of representing plaintiff MJA Holdings LLC.

        2.       I am a member of the bar in good standing in every jurisdiction in which I have

been admitted to practice.

        3.       There are no disciplinary proceedings pending against me as a member of the

bar in any jurisdiction.

        4.       I have not previously had a pro hac vice admission (or any other admission) to this

Court revoked for misconduct.

        5.       I have read and agree to comply with the Local Rules of United States District

Court for the District of Massachusetts.



DATED:           February 8, 2024                             ____________________________
                                                               RYAN C. ALTIERI




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